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             1     MARK D. SELWYN, SBN 244180
                    mark.selwyn@wilmerhale.com
             2     THOMAS G. SPRANKLING, SBN 294831
                    thomas.sprankling@wilmerhale.com
             3     WILMER CUTLER PICKERING
                    HALE AND DORR LLP
             4     2600 El Camino Real, Suite 400
                   Palo Alto, California 94306
             5     Tel: 650.858.6000 / Fax: 650.858.6100
             6     JOSHUA H. LERNER, SBN 220755
                     joshua.lerner@wilmerhale.com
             7     WILMER CUTLER PICKERING
                   HALE AND DORR LLP
             8     1 Front Street, Suite 3500
                   San Francisco, CA 94111
             9     Tel.: 628.235.1000 / Fax: 628.235.1001
           10      AMY K. WIGMORE, pro hac vice
                    amy.wigmore@wilmerhale.com
           11      WILMER CUTLER PICKERING
                   HALE AND DORR LLP
           12      2100 Pennsylvania Ave NW
                   Washington, DC 20037
           13      Tel.: 202.663.6000 / Fax: 202.663.6363
           14      [Counsel appearance continues on next page]
           15      Attorneys for Defendant Apple Inc.
           16
           17                      UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
           19      MASIMO CORPORATION,                       CASE NO. 8:20-cv-00048-JVS (JDEx)
           20      a Delaware corporation; and
                   CERCACOR LABORATORIES, INC.,              APPLE’S REPLY IN SUPPORT OF
           21      a Delaware corporation,                   MOTION TO CONFIRM THE
                                                             CURRENTLY-SCHEDULED
           22                         Plaintiffs,            NOVEMBER 2024 TRIAL DATE FOR
                                                             THE CLAIMS FIRST TRIED IN
           23            v.                                  APRIL 2023, AND TO BIFURCATE
                                                             THE SEPARATE PATENT
           24      APPLE INC.,                               INFRINGEMENT CLAIMS
                   a California corporation,
           25                         Defendant.            Judge:            Judge James V. Selna
                                                            Hearing:                8/5/24
           26
                                                            Discovery Cutoff:       7/15/24
           27                                               Final Pre-Trial Conf.: 10/28/24
           28                                               Trial:                  11/5/24

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             1     JOSEPH J. MUELLER, pro hac vice
                    joseph.mueller@wilmerhale.com
             2     SARAH R. FRAZIER, pro hac vice
                    sarah.frazier@wilmerhale.com
             3     WILMER CUTLER PICKERING
                    HALE AND DORR LLP
             4     60 State Street
                   Boston, MA 02109
             5     Tel: 617.526.6000 / Fax: 617.526.5000
             6     NORA Q.E. PASSAMANECK, pro hac vice
                    nora.passamaneck@wilmerhale.com
             7     WILMER CUTLER PICKERING
                    HALE AND DORR LLP
             8     1225 Seventeenth Street, Suite 2600
                   Denver, CO 80202
             9     Tel.: 720.274.3152 / Fax: 720.273.3133
           10      BRIAN A. ROSENTHAL, pro hac vice
                    brosenthal@gibsondunn.com
           11      GIBSON, DUNN & CRUTCHER LLP
                   200 Park Avenue
           12      New York, NY 10166-0193
                   Tel.: 212.351.2339 / Fax: 212.817.9539
           13
                   KENNETH G. PARKER, SBN 182911
           14       Ken.parker@haynesboone.com
                   HAYNES AND BOONE, LLP
           15      660 Anton Boulevard, Suite 700
                   Costa Mesa, CA 92626
           16      Tel. 650.949.3014 / Fax: 949.202.3001
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             1           In April 2023—nearly fifteen months ago—this Court held a trial on Plaintiffs’
             2     trade secret and patent ownership claims (the “retrial claims”), for which Plaintiffs
             3     sought billions from Apple. That trial ended in a mistrial because a single juror held out
             4     for Plaintiffs; all other jurors, after hearing the month-long presentation of evidence,
             5     were on Apple’s side. Dkts. 1713, 1714. Since then, Apple has tried to return to a retrial
             6     as quickly as possible, beginning by proposing a retrial in 2023. Apple’s interest in a
             7     speedy retrial has been motivated by a desire to avoid the passage of more time from the
             8     events that are the focus of Plaintiffs’ claims. Even from the time of the original trial,
             9     key Apple witnesses have retired, and the retrial evidence grows more stale every day.
           10      It is long past time to bring these claims to closure.
           11            Yet at every turn, Plaintiffs have delayed retrying their own claims. Plaintiffs
           12      should not be permitted to delay any longer. The retrial should take place this November
           13      as scheduled—and as the parties and the Court have planned for months. The current
           14      trial date is already nineteen months after the original trial. The retrial evidence—which
           15      relates to events from over a decade ago—is at risk of degradation, and there is no cause
           16      for further delay that would compound the prejudice to Apple.
           17            Plaintiffs’ opposition is simply another attempt at delay. In particular, Plaintiffs
           18      try to tie the retrial claims to separate patent-infringement claims that will not be ripe for
           19      trial in November because of Plaintiffs’ own conduct—namely, their untimely service
           20      (on July 5, 2024) of a new set of 864-page-long infringement contentions. Plaintiffs’
           21      foot-dragging led the Court to request a Special Master to assess whether the contentions
           22      asserted new infringement theories—a process that will prevent the patent-infringement
           23      claims from being ripe for trial in November. It is because of Plaintiffs’ behavior that it
           24      is necessary to bifurcate the patent-infringement claims—which, until a few months ago,
           25      were already on a separate track—to allow them to be tried when ripe for trial, while
           26      allowing the currently-scheduled November trial to proceed with the retrial claims.
           27
           28
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             1           Plaintiffs make several (meritless) arguments against allowing the retrial to
             2     proceed as scheduled in November. But they do not dispute—nor could they—that the
             3     retrial claims are poised to be taken “off the shelf” because they are “ready to go.” Ex.
             4     1 [7/12/24 Hr’g Tr.] at 18:1-11. The parties and the Court have been reserving
             5     November for trial for nearly ten months, and holding that proceeding as scheduled will
             6     bring the retrial claims to verdict before Thanksgiving. Apple is not aware of, nor have
             7     Plaintiffs identified, any case where a Court has declined to bifurcate in such a
             8     scenario—i.e., where already-tried-once claims are ready for a long-scheduled retrial
             9     and unrelated claims are not ripe for trial. As discussed below, courts confronted with
           10      similar facts have done exactly what Apple is requesting here: try the ripe claims and
           11      not delay them further until other, different claims are ready for trial.
           12            Accordingly, Apple respectfully requests that the Court hold the November trial
           13      as scheduled, and in that trial bring the retrial claims to final resolution. The patent-
           14      infringement claims can be tried later when they are ready for trial.
           15            A.     Argument
           16                   1.     Judicial Economy Does Not Favor Delaying For A Single Trial.
           17            Plaintiffs wrongly argue that judicial economy requires a single, consolidated trial
           18      of both the retrial claims and the patent-infringement claims. Dkt. 2042-1 (“Resp. Br.”)
           19      3-4. This ignores, of course, that the parties have already tried the retrial claims, which
           20      are “ready to go,” without the patent-infringement claims for which discovery is
           21      incomplete. Under very similar circumstances, the Ninth Circuit has held that separate
           22      trials “serve[] judicial efficiency” by preventing “needless[] … delay[]” for claims that
           23      are ready for trial. Davis & Cox v. Summa Corp., 751 F.2d 1507, 1517 (9th Cir. 1985)
           24      (affirming district court order for separate trials where “the parties had completed
           25      discovery on the [first set of] issues, [but] discovery on the [second set of] issues was
           26      not finished,” and “[w]ithout the severance order, the trial of the [first set of] issues
           27      would needlessly have been delayed”). The facts here weigh even more strongly in favor
           28      of holding the November trial, given the parties have already tried the retrial claims once
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             1     before, and the retrial evidence is becoming more stale with every passing day. That
             2     Ninth Circuit precedent thus strongly militates in favor of proceeding in November with
             3     the claims that will have been waiting nineteen months for retrial, rather than indulging
             4     Plaintiffs’ delay tactics.
             5            Plaintiffs argue that bifurcation should be denied based on their assumption that
             6     a first trial on retrial claims would not “eliminate, or even simplify, a second trial.” Resp.
             7     Br. 3-4. In reality, numerous courts have granted bifurcation on independent and
             8     separable claims, such that the outcome of the first trial would not necessarily eliminate
             9     the need for a second. See, e.g., Davis & Cox, 751 F.2d at 1517 (affirming separate trials
           10      on separable issues); Lutron Elecs. Co. v. Crestron Elecs., Inc., 2013 WL 2099739, at
           11      *1 (D. Utah May 14, 2013) (bifurcating plaintiff’s “patent claims from the non-patent
           12      claims” that included trade secret misappropriation claims, and explaining the nonpatent
           13      claims “are ‘clearly separable’ because they involve different facts and legal elements”);
           14      Indus. Hard Chrome, Ltd. v. Hetran, Inc., 2001 WL 128156, at *2 (N.D. Ill. Feb. 9,
           15      2001) (bifurcating plaintiffs’ fraudulent conveyance claims from their contractual
           16      claims); Steves & Sons, Inc. v. JELD-WEN, Inc., 252 F. Supp. 3d 537, 550 (E.D. Va.
           17      2017) (splitting case into three proceedings because the “case presents three different
           18      cases: an antitrust case; a trade secrets case; and a contract/breach of warranty case.
           19      Each of these, under the forecast facts and the known legal principles applicable to each,
           20      is complex in its own right”).
           21             Moreover, contrary to Plaintiffs’ assumption (Resp. Br. 3-4), separate trials here
           22      would substantially streamline the issues presented to both juries and will be easier to
           23      schedule and manage. A sprawling trial on disparate and complex trade secret, trade-
           24      secret damages, patent-inventorship, patent-infringement, patent-validity, and patent-
           25      damages claims would pose considerable “trial management problems and difficulty in
           26      presenting understandable instructions,” whereas conducting separate trials would
           27      “effectuate efficiencies in trial presentation and case management that will offset any
           28
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             1     inefficiency created by having [multiple] trials.” Steves & Sons, 252 F. Supp. 3d at 550-
             2     551 (separating case into three separate trials).1 Other judicial-economy considerations
             3     are at worst neutral. While on one hand there will be two versions of certain events like
             4     jury selection, on the other hand the retrial can easily be completed in November before
             5     Thanksgiving, leaving a shorter patent-infringement trial to occur when those claims are
             6     ripe. Importantly, these two shorter trials will likely be easier for the Court and each
             7     jury to complete without interruption than a single longer and more-complicated trial.
             8     Dkt. 2031-1 (“Mot.”) 8-9; Intel Corp. v. Broadcom Corp., 173 F. Supp. 2d 201, 205 (D.
             9     Del. 2001) (noting that the court had previously separated infringement claims for five
           10      asserted patents into two trials “[i]n order to simplify the issues before the jury and to
           11      shorten the length of the jury trial”).
           12                     2.    Separate Trials Would Not Prejudice Plaintiffs.
           13              Plaintiffs’ suggestion that bifurcation would “greatly prejudice” them (Resp. Br.
           14      4, 6-8) is belied by the fact that the retrial claims have already been tried separately
           15      from the patent-infringement claims—and indeed, the parties did so at Plaintiffs’ urging.
           16      When the patent-infringement claims were stayed because of IPR proceedings, Plaintiffs
           17      asked the Court to proceed forward with their trade secret and patent inventorship
           18      claims. Dkt. 209-1 at 24-25 (arguing that “staying the trade secret case would prejudice
           19      Plaintiffs. … There is no reason to delay Plaintiffs’ ability to seek relief for such
           20      misappropriation”). At no point during or after the April 2023 trial did Plaintiffs object
           21      or argue they were prejudiced by omitting the patent-infringement claims—to the
           22      contrary, they argued for proceeding with the trade-secret and patent-ownership claims
           23      without the then-stayed patent-infringement claims. Later, in August and October 2023,
           24      the parties twice proposed dates for another trial on the retrial claims, see Dkts. 1913,
           25      1925, and again Plaintiffs never suggested that retrial be delayed until their patent-
           26      infringement claims were ready, or that they would suffer prejudice from omitting the
           27
           28      1
                       All emphasis is added unless otherwise stated.
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             1      make decisions based on battery size (as compared to battery life) are not at odds either
             2      with Apple’s goal to provide its users with all-day battery or the fact that Apple’s
             3      engineers would accordingly reject technical suggestions that unnecessarily consume
             4      power.
             5            But even if there were any inconsistency (and there is not),3 Plaintiffs have simple
             6      remedies. If Plaintiffs believe a witness in any trial (either the retrial on the retrial
             7      claims, or trial on the patent-infringement claims) is testifying inconsistently with prior
             8      positions, Plaintiffs can seek to impeach that witness, or play allegedly inconsistent
             9      deposition testimony.     Likewise, if Plaintiffs believe Apple is taking inconsistent
           10       corporate positions at trial, Plaintiffs can raise that with the Court. Plaintiffs’ speculation
           11       as to future inconsistencies is both unmerited and premature.
           12             Second, Plaintiffs puzzlingly contend that they will be prejudiced “by further
           13       delaying the patent claims.”       Resp. Br. 6.     Plaintiffs’ suggestion that Apple has
           14       improperly delayed the adjudication of Plaintiffs’ patent-infringement claims is doubly
           15       wrong. First, Plaintiffs are wrong to suggest that Apple’s IPR petitions were a delay
           16       tactic. In truth, the IPR petitions were overwhelmingly successful on the merits,
           17       resulting in the Patent Office finding all asserted claims from twelve asserted patents
           18       unpatentable with just two exceptions: the claims from the ’703 and ’776 patents. Dkt.
           19       1930 at 2-3.4 Second, Plaintiffs are wrong to suggest that Apple is responsible for the
           20       recent interruption in the patent-infringement proceedings. It was Plaintiffs’ choice to
           21       serve 864 pages of untimely infringement contentions on the eve of opening expert
           22       reports. And it was Plaintiffs that—when pressed by the Court on whether it could rule
           23       immediately (i.e., without further delay) on whether those contentions asserted new
           24       theories—indicated that a special master was needed before such a ruling could be made.
           25
           26       3
                      Nor have Plaintiffs alleged any other potential inconsistency. They cannot, because
                    the retrial claims and patent-infringement claims concern different factual issues.
           27
                    4
                      Some unasserted claims from U.S. Patent No. 10,588,554 also survived IPR, but
           28       Plaintiffs do not assert those claims now.
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             1      Ex. 1 [7/12/24 Hr’g Tr.] 7:22-8:23. Apple, in contrast, expressly stated that the Court
             2      could rule immediately, but deferred to the Court with regard to a special master. Id.
             3      The record thus shows the opposite of what Plaintiffs now contend.
             4            In any event, bifurcation will not delay trial on the patent-infringement claims.
             5      Those claims can be tried as soon as they are ready. There is no support for Plaintiffs’
             6      contention that the need for separate pre- and post-trial briefing “would undoubtedly
             7      delay trial on the patent claim,” Resp. Br. 6. Indeed, bifurcation is likely to result in a
             8      faster trial on the patent claims as the Court and the parties would need only find a single
             9      week to schedule a trial on the patent-infringement claims; a joint trial is likely to require
           10       three to four weeks and, as experience has shown, will be much more difficult to
           11       schedule quickly.
           12                    3.     Further Delay Of The Retrial Will Prejudice Apple.
           13             Plaintiffs’ argument that Apple’s claims of prejudice are “trivial and unsupported”
           14       (Resp. Br. 7) ignores the real risks of further delay on claims that relate to events that
           15       occurred over a decade ago. As Apple explained, it is significantly prejudiced by
           16       “[w]itnesses relocat[ing],” “memories and reliability … degrad[ing],” and “evidence …
           17       becom[ing] stale,” A.H. v. Cnty. of San Bernardino, 2023 WL 9646224, at *4, 7 (C.D.
           18       Cal. Dec. 28, 2023), due to the passage of time since the relevant events occurred a
           19       decade or more ago. Moreover, Plaintiffs cannot reasonably dispute that this delay
           20       harms Apple the most. It was Apple that highlighted to the jury what live “witnesses
           21       actually said” (4/26/23 Trial Tr. [PM] 8:8-13), Masimo that relied heavily on the
           22       documentary evidence (Mot. 5; 4/25/23 Trial Tr. 97:8-24), and two of Apple’s key trial
           23       witnesses (Hotelling and Russell-Clarke) who have retired, with no guarantee that Apple
           24       will be able to secure the testimony of retired employees in the future. Id.
           25             None of Plaintiffs’ unfounded assumptions ameliorates the prejudice to Apple of
           26       delay. First, Plaintiffs assert that the patent-infringement claims are at equal risk of
           27       fading memories.      But that is no justification for delaying the trade secret and
           28       inventorship claims that are ready for trial. In fact, as noted above, trying the retrial
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             1      claims first could expedite the trial on patent-infringement claims making it easier to
             2      schedule the patent-infringement trial (which will necessarily be much shorter). See
             3      supra at 3-4, 7. In addition, testimonial evidence (and witness credibility) is particularly
             4      crucial for the trade secret claims, as the patent-infringement claims have no knowledge
             5      requirement. See, e.g., Dkt. 1715 [Jury Instructions] at 39-42 (requiring proof of Apple’s
             6      “state of mind”). The patent-infringement claims thus do not depend on memories of
             7      interactions a decade ago, nor have any of Apple’s fact witnesses for those patent-
             8      infringement claims already retired.
             9            Second, Plaintiffs observe that some of Apple’s cases did not involve bifurcation
           10       motions. Resp. Br. 7-8. This is a red herring—those cases were cited for the legal
           11       principle that delaying trial can cause prejudice to a party because memories can fade,
           12       witnesses can move and become unavailable, and evidence can become stale. Mot. 5.
           13       Plaintiffs do not explain why the nature of those harms would change depending on
           14       whether they were raised in the bifurcation context or (as in certain cases Apple cited)
           15       the context of a motion for continuance or stay. Indeed, Plaintiffs are effectively seeking
           16       a continuance/stay of the trade secret and inventorship claims, making those cases more
           17       relevant.
           18             Third, Plaintiffs blithely suggest that witnesses for the retrial claims should
           19       simply “review their prior testimony.” Resp. Br. 7. This is not a serious argument. If
           20       it were that simple, then courts would never cite the risk of failing memories as a
           21       consideration in scheduling trials. But, of course, human memories do fade, and courts
           22       accordingly seek to promptly schedule trials to avoid the risk of memory loss impairing
           23       fair adjudication of the merits. Clinton v. Jones, 520 U.S. 681, 707-708 (1997) (finding
           24       that “delaying trial would increase the danger of prejudice resulting from the loss of
           25       evidence, including the inability of witnesses to recall specific facts”); Pagtalunan v.
           26       Galaza, 291 F.3d 639, 643 (9th Cir. 2002) (holding that unnecessary delay “inherently
           27       increases the risk that witnesses’ memories will fade and evidence will become stale”).
           28
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             1                   4.    Plaintiffs’ Claims Are Plainly Separable, And Indeed Have
             2                         Already Been Tried Separately.

             3            Claims are “separable” if they “involve different facts and legal elements.”

             4      Lutron, 2013 WL 2099739, at *1. Plaintiffs’ claims address plainly separate issues.

             5            The retrial claims and patent-infringement claims involve manifestly different

             6      legal elements, and Plaintiffs do not contend otherwise. The retrial claims involve

             7      California trade secret law and patent inventorship law, whereas the patent-infringement

             8      claims involve patent infringement and validity law. Indeed, to the extent that there are

             9      any analogies to be drawn between trade secrets and patents, the substantive differences

           10       despite superficial linguistic similarity would only serve to confuse the jury. Compare

           11       Dkt. 1715 at 29-30 (describing meaning of “generally known”), with 35 U.S.C. §§ 102-

           12       103 (an invention is invalid if it was, e.g., “known or used by others … or patented or

           13       described in a printed publication”).

           14             The retrial claims and patent-infringement claims also involve different factual

           15       elements. The retrial claims involve factual allegations that (1) Apple misappropriated

           16       (via Dr. Lamego) purported technical trade secrets relating to demodulation, a short

           17       circuit, and a black foam test (Dkt. 1928 at 3; Dkt. 650-1 at ECF 42-48); and (2)

           18       Plaintiffs’ employees should be named inventors on certain Apple patents. Plaintiffs did

           19       not seek damages for the inventorship claims and the only Apple Watch feature that

           20       Plaintiffs targeted for damages was the Blood Oxygen feature. Mot. 6. In contrast, the

           21       patent-infringement claims allege that Apple’s power management algorithms infringe

           22       certain independent claims of two patents directed to changing the duty cycle of LEDs

           23       and claims depending therefrom.5 See ’703 patent, claims 1, 9; ’776 patent, claims 1,

           24       11. Plaintiffs do not dispute that the accused features for the patent-infringement claims

           25
           26       5
                      Setting aside Plaintiffs’ new attempt to characterize the April 2023 trial as being
                    generically about both “heart rate” and “blood oxygen,” Resp. Br. 9, the claimed
           27       inventions in the ’703 and ’776 patents bear no resemblance to the purported technical
                    trade secrets. See Dkt. 1937 at 3 (recognizing the “limit[ed] [] possible overlap between
           28       the patent and trade secret claims”); Dkt. 650-1 at ECF 42-48.
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             1      do not include the Blood Oxygen feature, and instead comprise the “Workout app,” the
             2      “Background HR” feature, and the “irregular rhythm,” “high heart rate notification,”
             3      and “low heart rate notification” features. Mot. 6-7.
             4            Plaintiffs conclusorily assert that numerous fact witnesses are “relevant to both
             5      sets of claims,” Resp. Br. 10, but do not attempt to explain why—of the nine Apple
             6      witnesses they listed—they deposed only two (Deidre Caldbeck and Steve Waydo) to
             7      obtain discovery regarding the patent-infringement claims. Masimo also asserts there
             8      may be some overlap in technical experts but that does not preclude trying the claims
             9      separately—the experts will simply have “given one opinion for the patent claims and a
           10       separate opinion for the non-patent claim.” Lutron, 2013 WL 2099739, at *1 (holding
           11       that, in that scenario, expert’s opinions did “not overlap and are separable”). Even if
           12       there were some degree of witness “overlap” causing some “witnesses … to be called
           13       twice,” that “does not rise to the level of prejudice” to Plaintiffs. Id. Any overlapping
           14       witness testimony “will address different topics”—e.g., related to purported trade
           15       secrets, on one hand, or alleged patent infringement on the other—such that “the fact
           16       that the same witnesses will testify is of no real moment.” Steves & Sons, 252 F. Supp.
           17       3d at 549.
           18             Plaintiffs’ remaining attempts to link the retrial claims to their patent-
           19       infringement claims all fail. Plaintiffs suggest that “the same [Masimo] monitors and
           20       sensors combined practice” the purported trade secrets and asserted patents, Resp. Br.
           21       11, but never explain the relevance of that allegation. Regardless, Plaintiffs would need
           22       to focus on different aspects of their products as practicing the purported trade secrets
           23       and asserted patents because the patents and trade secrets (necessarily) cover different
           24       ground. Dkt. 1937 at 3. Plaintiffs also argue that the “Masimo-Apple relationship” is
           25       somehow relevant to copying as a secondary consideration of non-obviousness. Resp.
           26       Br. 11. But copying requires a “nexus between the copying and the novel aspects of the
           27       claimed invention,” Wm. Wrigley Jr. Co. v. Cadbury Adams USA LLC, 683 F.3d 1356,
           28
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             1      1364 (Fed. Cir. 2012), and Plaintiffs do not identify any evidence regarding the
             2      “Masimo-Apple relationship,” from the April 2023 trial or otherwise, relating to
             3      switching duty cycles or the amount of data blocks based on processing characteristics.
             4      In any event, some small degree of factual overlap does not preclude bifurcation.
             5      Lutron, 2013 WL 2099739, at *1; Steves & Sons, 252 F. Supp. 3d at 549; Ciena Corp.
             6      v. Corvis Corp. 210 F.R.D. 519, 520 (D. Del. 2002) (bifurcating patent-infringement
             7      claims and invalidity counterclaims).
             8            In sum, Plaintiffs’ suggestion that the degree of overlap between the retrial claims
             9      and the patent-infringement claims is significant is both a reversal of their prior position
           10       that the trade secret and patent ownership claims could be tried separately, and
           11       unsupported on the merits.
           12                    5.     Separate Jury Trials Will Reduce Jury Confusion.
           13             As described above (supra at 9-10) and in Apple’s opening brief (Mot. 7-8), the
           14       retrial claims and patent-infringement claims involve different technical concepts, and
           15       different legal doctrines—each of which is also difficult and complex.6 The technology
           16       at issue and doctrines of patent law and trade secret law are “matters of fact and issues
           17       of law that are not as intuitive to the average reasonable juror as more common actions
           18       such as actions for personal injury or breach of contract, would be.” Audio MPEG, Inc.
           19       v. Dell Inc., 254 F. Supp. 3d 798, 807 (E.D. Va. 2017) (granting bifurcation of patent
           20       claims and antitrust counterclaims to aid “juror comprehension,” “(1) by presenting the
           21       evidence in a manner that is easier for the jurors to understand, and (2) by limiting the
           22       number of legal issues the jury must address at any particular time”). Numerous courts
           23       have recognized the real-world problem of jury confusion in complex cases, a problem
           24       that cannot simply be waved away by reference to jury instructions or verdict forms, and
           25
           26
                    6
                       Although Apple agrees that Plaintiffs’ asserted patents “concern relatively
           27       straightforward” technology to a skilled artisan, Resp. Br. 12, at minimum the accused
                    power management algorithms in the accused products are not straightforward, as
           28       evidenced by the 864 pages of supplemental infringement contentions Plaintiffs served.
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             1      have granted bifurcation in similar cases to prevent it. See, e.g., Lutron, 2013 WL
             2      2099739, at *1 (bifurcating patent claims from trade secret misappropriation claims, and
             3      finding “[t]he most significant factor for the court, however, is based on the complexity
             4      of the case. The substantive differences and potential for juror confusion are
             5      appreciable”); Ciena Corp., 210 F.R.D. at 520-521 (bifurcating patent case involving
             6      “complex technology” and five patents, to “ensure that the cases are resolved in a just
             7      manner by juries that understand the complex issues before them” “by presenting the
             8      evidence in a manner that is easier for the jurors to understand” and “limiting the number
             9      of legal issues the jury must address at any particular time”); Steves & Sons, 252 F. Supp.
           10       3d at 550 (separating antitrust, trade secret, and contract claims because certain claims
           11       were “complex in one way” and the “trade secret issues are complex in other ways,”
           12       such that each “is complex in its own right”); Indus. Hard Chrome, 2001 WL 128156,
           13       at *1 (bifurcating claims that required “completely different elements and proofs” and
           14       “if all seven claims were tried together, a significant likelihood of jury confusion and
           15       prejudice would be presented”).
           16             Nothing Plaintiffs say alleviates those concerns. Notably, Plaintiffs observe that
           17       the retrial claims include patent inventorship claims (which is not at issue in the patent-
           18       infringement claims). Resp. Br. 11. Those additional inventorship claims do not
           19       simplify matters—they complicate them. The inventorship and ownership allegations
           20       raise different questions of facts and law related to Apple patents (rather than the Masimo
           21       patents at issue in the infringement claims). Adding yet another set of claims to a
           22       witches’ brew of patent facts and law that a consolidated trial jury must potentially
           23       digest—including direct infringement, indirect infringement, doctrine of equivalents,
           24       willfulness, invalidity, subject matter eligibility, marking, and damages—can only
           25       increase complexity and confusion.
           26
           27
           28
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             1                   6.     Plaintiffs’ Counsel’s Trial Schedule Does Not Support A Stay Of
             2                          The Scheduled Retrial.

             3            Plaintiffs suggest in the background section of their brief (although not the
             4      argument section) that the proximity of the current November trial date and the parties’
             5      separate Delaware trial on Apple’s patent-infringement claims is “unfair[]” to Plaintiffs.
             6      Resp. Br. 2. But Plaintiffs fail to explain why it would be unfair for them now to proceed
             7      to trial only on the retrial claims when they previously advocated to include the patent-
             8      infringement claims on the same timeline. Plaintiffs were aware of the likely trial date
             9      in Delaware before they advocated earlier this year that this Court keep the fall trial date
           10       and add to it Plaintiffs’ patent-infringement claims. Ex. 3 [3/20/24 D. Del. Hr’g Tr.] at
           11       5:22-6:5 (“[The Court:] I’m inclined to find that the most reasonable and appropriate
           12       manner of proceeding is to have a five-day trial here beginning on October 21st of
           13       2024.”); Dkt. 1943 at 3 (two days later, Plaintiffs urging this Court to adopt a November
           14       5, 2024 trial date). Plaintiffs cite no case where a court declined to bifurcate—or ordered
           15       a continuance on claims ready for trial—because the long-scheduled trial date was less
           16       convenient for counsel. Plaintiffs also suggest that Apple “believes its chances of
           17       succeeding are higher if each jury is unaware of the scope of Apple’s infringement and
           18       misappropriation.” Resp Br. 1. But all but one juror in the first trial concluded that there
           19       was no misappropriation at all.       Dkts. 1713, 1714.      Regardless, whether Apple
           20       misappropriated Masimo’s trade secrets is legally irrelevant to whether it infringed
           21       Masimo’s patents (Apple did neither), which claim different subject matter. Ultimately,
           22       Masimo’s insinuations about Apple’s motives and attempts to blur the lines between
           23       different legal doctrines are meritless and irrelevant.
           24             B.     Conclusion
           25             The Court should maintain the current November 5, 2024 trial date for the trade
           26       secret and patent ownership claims, and bifurcate Plaintiffs’ patent-infringement claims
           27       and the defenses thereto for a separate trial when such claims are ready for trial.
           28
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             1
             2      Dated: July 30, 2024                Respectfully submitted,

             3
             4                                          MARK D. SELWYN
                                                        AMY K. WIGMORE
             5                                          JOSHUA H. LERNER
             6                                          JOSEPH J. MUELLER
                                                        SARAH R. FRAZIER
             7                                          NORA Q.E. PASSAMANECK
             8                                          THOMAS G. SPRANKLING
                                                        WILMER CUTLER PICKERING
             9                                          HALE AND DORR LLP
           10
                                                        BRIAN A. ROSENTHAL
           11                                           GIBSON, DUNN & CRUTCHER LLP
           12
                                                        KENNETH G. PARKER
           13                                           HAYNES AND BOONE, LLP
           14
           15
           16                                           By: /s/ Mark D. Selwyn
                                                            Mark D. Selwyn
           17
           18                                           Attorneys for Defendant Apple Inc.
           19
           20
           21
           22
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           24
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             1                             CERTIFICATE OF COMPLIANCE
             2            The undersigned, counsel of record for Defendant Apple, Inc., certifies that this
             3      brief contains 4,496 words, which complies with the word limit of L.R. 11-6.1.
             4
             5      Dated: July 30, 2024
             6                                            MARK D. SELWYN
                                                          AMY K. WIGMORE
             7                                            JOSHUA H. LERNER
                                                          SARAH R. FRAZIER
             8                                            NORA Q.E. PASSAMANECK
                                                          THOMAS G. SPRANKLING
             9                                            WILMER CUTLER PICKERING
                                                          HALE AND DORR LLP
           10
                                                          BRIAN A. ROSENTHAL
           11                                             GIBSON, DUNN & CRUTCHER LLP
           12                                             KENNETH G. PARKER
                                                          HAYNES AND BOONE, LLP
           13
           14
                                                          By: /s/ Mark D. Selwyn
           15
                                                               Mark D. Selwyn
           16
                                                          Attorneys for Defendant Apple Inc.
           17
           18
           19
           20
           21
           22
           23
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           27
           28
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